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                                                                   U.S. DISTRICT COURT
                                                                   Southern District of Ga.
                     UNITED STATES DISTRICT COURT Filed hi OWw
                     SOUTHERN DISTRICT OF GEORGIA —S~
                         SAVANNAH DIVISION
                                                                         Deputy ^er't



 UNITED STATES OF AMERICA ) INDICTMENT NO.

                                            ^u.s.c.s6M W21-0031
                                            ) Smuggling
 NIHAD AL JABERI )
                                            ) 18 U.S.C. § 922(e)
                                            ) Failure to Notify a Common Carrier
                                            )
                                            ) 13U.S.C.§305
                                            ) Submitting False or Misleading
                                            ) Export Information

TJHE GRAND JURY CHAKGES THAT:


                                   COUNT ONE
                                     Smuggling
                                   18 U.S.C. § 554

      On or about August 4, 2020, in Chatham County, within the Southern District

of Georgia, and elsewhere, the defendant,


                               NIHAD AL JABERI

did willfully and knowingly attempt to export and send the below-listed items &om

the United States, contrary to Title 18, United States Code, Section 922(e) (Failure

to Notify a Common Carrier), and contrary to Title 13, United States Code, Section

305 (Submitting False or Misleading Export Information), which are laws of the

United States:


      a, a Beretta, model APX, 9mm caliber pistol;
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 b. a Magnum Research, model Desert Eagle, .44 caliber pistol;

 c. an F&N, model 509, 9mm caliber pistol;

 d. a Sako, model A7S, .308 caliber rifle, serial # K90825;


 e. a Cooper Firearms, model Colt M2012-CLR, .308 caliber rifle;

 £ a Christensen Arms, model 14, .308 caliber rifle;

 g. a Weatherby, model MDT LSS-XL,. 308 caliber rifle;

 h. a Browning, model X Bolt, .308 caliber rifle; and

 i. a Sabatti, model STR, .308 caliber rifle.

 AUj in violation of Title 18, United States Code, Section 554.




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                                   COUNT TWO
                        Failure to Notify a Common Carrier
                                 18U.S.C.§922(e)

      On or about July 24, 2020, in Chatham County, within the Southern District

of Georgia, and elsewhere, the defendant,

                                NIHAD AL JABERI

did knowingly deliver and cause to be delivered to a common and contract carrier

for transportation and shipment in foreign commerce, to persons other than a


licensed uaporter, manufacturer, dealer and collector, a package containing


firearms, and did so without giving written notice to the carrier that such firearms

were being transported and shipped, in that AL JABERI listed thelbontents of the

package as "71 Pieces of Spare Auto Parts with No License Required," while

Imowing the package contained firearms.

      All in violation of Title 18, United States Code, Section 922(e).
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                                  COUNT THREE
                Submitting False or Misleading Export Information
                                 13U.S.C.§305

      On or about July 28, 2020, m Chatham County, within the Southern District

of Georgia, and elsewhere, the defendant,


                                NIHADALJABERI

did knowingly cause freight forwarder North Atlantic Logistics, Inc., to submit false

and misleading export ui&rmation though a Shippers Export Declaration and the

Automated Export System, by falsely declaring the contents of the shipment to only

be "71 Pieces of Spare Auto Parts with No License Required" when, in fact, AL

JABEEI knew the shipment at issue ajlso contained firearms.

      All in violation of Title 13, United States Code, Section 305.
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                           FORFEITURE ALLEGATION

      The allegations contained in Counts Two and Three of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to Title 13, United States Code, Section 305(a)(3), Title 18, United States

Code, Section 924(d) and Title 28, United States Code, Section 2461.

       Upon conviction of the Title 13 ofifease alleged m Count Two of this Indictment,

the defendant, NIHAD AL JABERI shaU forfeit to the United States pursuant to

Title 13, United States Code, Section 305(a)(3), any interest in, security of, claim

against, or property or contractual rights of any kind in the goods or tangible items

that were the subject of the violation, any interest in, security of, claim against, or

property or contractual rights of any kind in tangible property that was used in the

e-xport or attempt to export that was the subject of the violation, and any property

constituting, or derived from, any proceeds obtained directly or indirectly as a result

of the violation, including, but not limited to, }

      a. Beretta, model APX, 9mm caliber pistol, serial # A030674X;
      b. Magnum Research, model Desert Eagle, .44 caliber pistol serial #
             DK0050868;
      c. F&N, model 509,9mm caliber pistol, serial # GKS0037076;

       d. Sako, model A7S, .308 caliber rifle, serial # K90825;

      e. Cooper Firearms, model Colt M2012-CLR, .308 caliber rifle, serial #
             CLR0523;
      £ Christensen Anns, model 14, .308 caliber rifle, serial # 7M05986;
      g. Weatherby, model MDT LSS-XL, .308 caUber rifle, serial # VB124356;

      h. Browning, model X Bolt, .308 caliber rifle, serial # 19467ZN354; and
      L Sabatti, model STR, .308 caUber rifle, serial If- R71722.
                                            5
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(Collectively, the "Subject Property").

      Furthermore, upon conviction of the Title 18 offense alleged in Count Three of

this Indictment, the defendant, NIHAD AL JABERI shall forfeit to the United

States pursuant to Title 18. United States Code, Section 924(d) and Title 28, United

States Code, Section 2461, any firearm or ammunition, involved in or used in


violation of the charged offense, includmg, but not limited to the Subject Property.




                                                A True Bill.




 Bo%y l^Christine                             Karl Knoche
 United States Attorney                       Assistant TJnited States Attorney
       .-.-
                                              Chief, Criiojinal Division




Jennifer G./S6Iari                            Darron J. Hubbard
Assistyit/United States Attorney              Assistant United States Attorney
Lead Qqdnsel                                  Co Counsel




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